 Case 23-23695       Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12       Desc Main
                              Document     Page 1 of 21




  THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF UTAH




In re:                                                 Bankruptcy Case 23-23695
                                                       (Chapter 11 – Subchapter V)
PROJECT NEPTUNE, LLC
                                                       Judge Peggy Hunt
         Debtor.




                   OBJECTION TO DEBTOR’S MOTION TO DISMISS


         COMES NOW Creditor, Adrian “Chip” Garritty, and respectfully files this

objection to the Debtor’s motion to dismiss filed October 24, 2023, which is scheduled to

be heard on November 8, 2023, and states:


                                        PARTIES

         1.    Adrian “Chip” Garritty (“Garritty”) is a citizen of Arkansas, and resident

of Benton County, Arkansas.

         2.    As described in the motion, Garritty is one of thousands of Debtor’s former

customers from his purchase of three tickets for the failed Glenn Beck Cruise for himself

and his family, totaling $25,615.00.

         3.    After the pandemic, Garrity and other would-be passengers were

repeatedly misled by the Debtor about their money, possible refunds, possible credits,

and even how airlines and Costa Cruise Lines, Inc. (“Costa”) had kept their funds and

had refused refunds.
 Case 23-23695      Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12          Desc Main
                             Document     Page 2 of 21



      4.     On October 27, 2023, I filed a class action lawsuit for other similarly situated

purchasers of the Glenn Beck Cruise, and it appears the Class have all been identified by

the Debtor as creditors in this proceeding. A copy of the Class Action Complaint is

provided as Exhibit A and is fully incorporated herein by reference.

      5.     I have received notice of the Debtor’s motion to dismiss and the hearing on

the motion set for November 8, 2023.

      6.     I object to dismissal of these proceedings without some protection for

myself and other similarly situated Glenn Beck Cruise passengers from the Debtor.

      7.     For years now, the Debtor has mismanaged its business, and moreover, in

attempts to cover its poor financial condition, which it created, the Debtor has misled me

and its other customers for several years.

      8.     I have no confidence that the Debtor will appropriately manage these

credits now, and over this month, as it has developed a pattern of mismanagement and

deception since the 2020 pandemic.

      9.     Although the Debtor identifies $1,523,995.90 in credits from Costa Cruise

Lines as its asset, those credits belong to the Class members and me as the Class

Representative.

      10.    I cannot be present for the hearing on this motion because of the Court’s

distance from my home, and because it would not be economically wise for me to do so.




                                             2
 Case 23-23695     Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12        Desc Main
                            Document     Page 3 of 21



      WHEREFORE, I pray for the Court to consider this Objection carefully and enter

an Order denying the Debtor’s motion to dismiss in its entirety.



                                               /s/ Adrian “Chip” Garritty

                                               Adrian “Chip” Garritty
                                               3312 S. White Oak St.
                                               Siloam Springs, AR 72761




                                           3
Case 23-23695   Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12   Desc Main
                         Document     Page 4 of 21



 	  
 	  
 	  
 	  
 	  
 	  
 	  
 	  
 	  


                 EXHIBIT                              A
 Case 23-23695      Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12 ELECTRONICALLY
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                             Document     Page 5 of 21                   Benton County Circuit Court
                                                                               Brenda DeShields, Circuit Clerk
                                                                               2023-Oct-27 11:18:36
                                                                                  04CV-23-2996
                                                                               C19WD06 : 17 Pages


           IN THE CIRCUIT COURT OF BENTON COUNTY, ARKANSAS




ADRIAN “CHIP” GARRITTY, on behalf
of himself and others similarly situated

      Plaintiff,

v.


BLAZE MEDIA, L.L.C.,                                    Case No.: ____________________
GLENN BECK, INDIVIDUALLY,
BILL O’REILLY, INDIVIDUALLY,
BILL O’REILLY PRODUCTIONS, INC.,                        CLASS ACTION
CARNIVAL CORPORATION,
COSTA CRUISE LINES, INC.


      Defendants.




                             CLASS ACTION COMPLAINT


      COMES NOW the Plaintiff, Adrian “Chip” Garritty, on behalf of himself and all

others similarly situated (“Plaintiffs” or “Plaintiff and the Class”), and for their Class

Action Complaint against Defendants hereby state and allege:


                                        PARTIES

      1.     Plaintiff Adrian “Chip” Garritty (“Garritty” or “Plaintiff”) is a citizen of

Arkansas, and resident of Benton County, Arkansas.
 Case 23-23695      Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12        Desc Main
                             Document     Page 6 of 21



       2.     Upon information and belief, Defendant Glenn Beck (“Beck”) is a citizen of

Texas, and may be found at 2224 King Fisher Dr., Westlake, TX 76262. Beck has minimum

contacts within the State of Arkansas as he derives significant revenue from Plaintiff,

other Arkansas citizens, and other revenue from within the State of Arkansas.

       3.     Blaze Media, LLC (“Blaze”), is a limited liability corporation with its

principal place of business in Texas, and having a registered agent known as Legalinc

Corporate Services, Inc., 10601 Clarence Dr., Suite 250, Frisco, TX 75033. Blaze has

minimum contacts within the State of Arkansas as it derives significant revenue from

Plaintiff, other Arkansas citizens, and other revenue from within the State of Arkansas.

       4.     Upon information and belief, Defendant Bill O’Reilly (“O’Reilly”) is a

citizen of New York. O’Reilly has minimum contacts within the State of Arkansas as he

derives significant revenue from Plaintiff, other Arkansas citizens, and other revenue

from within the State of Arkansas.

       5.     Bill O’Reilly Productions, Inc., (“BOP”) is a citizen of New York, with a

registered agent at 380 Lexington Ave., 31st Floor, New York, NY 10168. BOP has

minimum contacts within the State of Arkansas as it derives significant revenue from

Plaintiff, other Arkansas citizens, and other revenue from within the State of Arkansas.

       6.     Defendant Carnival Corporation (“Carnival”) is a citizen of Florida. Its

registered agent for service of process is NRAI Services, Inc., 1200 South Pine Island Rd.,

Plantation, FL 33324. Upon information and belief, Carnival Corporation is the parent

entity of Defendant Costa Cruise Lines, Inc. Carnival has minimum contacts within the




                                            2
    Case 23-23695   Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12         Desc Main
                             Document     Page 7 of 21



State of Arkansas as it derives significant revenue from Plaintiff, other Arkansas citizens,

and other revenue from within the State of Arkansas.

        7.    Defendant Costa Cruise Lines Inc. (“Costa”) is a citizen of Florida. Its

registered agent for service of process is CT Corporation, 880 SW 145th Ave., Suite 201,

Pembroke Pines, FL 33027. Costa has minimum contacts within the State of Arkansas as

it derives significant revenue from Plaintiff, other Arkansas citizens, and other revenue

from within the State of Arkansas.

                             JURISDICTION AND VENUE

        8.    This Court has jurisdiction over the civil claims brought on behalf of

Plaintiff and the Class, and jurisdiction over the Defendants due to their minimum

contacts within Arkansas.

        9.    This Court is the proper venue as Plaintiff is a resident of this County and

many of the actions complained of occurred within this County.

                                          FACTS

        10.   Beginning in 2019, Defendant Glenn Beck partnered with the now defunct

CruiseBuilder1 to promote the “Glenn Beck Cruise Through History” (hereinafter

“Cruise”). The Cruise was billed as a 14-day, family friendly trip through several historic

locations where passengers would receive political and religious commentary from

influencers such as Glenn Beck, Bill O’Reilly, David Barton, and Rabbi Lapin (collectively,

the “Cruise Promoters”).




1
 CruiseBuilder is a subsidiary of Project Neptune, L.L.C., which filed a Bankruptcy
Petition in Utah on August 25, 2023.


                                             3
 Case 23-23695      Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12         Desc Main
                             Document     Page 8 of 21



       11.    Plaintiff Garritty purchased three tickets for the Cruise for himself and his

family, totaling $25,615.00. Plaintiff Garritty purchased these tickets after hearing the

advertisements of Defendant Glenn Beck, of whom Plaintiff Garritty has been a fan for

many years.

       12.    The Cruise was a charter, meaning the entire ship was purchased for

Plaintiff and members of the Class by the now defunct CruiseBuilder and the Cruise

Promoters, which marketed the Cruise in a purposeful way to assure ticket purchasers

that everybody on board the ship was a like-minded fan of Glenn Beck.

       13.    Defendants Costa Cruises, Inc., and Carnival Corporation sold this charter

to Defendant Glenn Beck and the now defunct CruiseBuilder.

       14.    The Cruise was scheduled to depart on March 24, 2020, stopping at ports in

Italy, Croatia, Israel, and Greece, before returning on April 7, 2020. Defendant Glenn Beck

focused on the religious and political nature of the locations and advertised the Cruise as

an “opportunity to reinforce your faith, culture and values by experiencing it in the places

where it first took root, Jerusalem, Athens, or Venice.”

       15.    When the Cruise was to stop in Israel, passengers were given excursion

options based on their individual religious beliefs.

       16.    Basic cabins on the Cruise started at $4,999 per person and went as high as

$9,395 per person for the so-called “Grand Suite.” Additionally, passengers were given

the option to purchase the “Inner Circle” package, which provided guests with

opportunities to attend exclusive meet and greet events with Glenn Beck, along with




                                             4
    Case 23-23695    Doc 38   Filed 11/07/23 Entered 11/07/23 13:38:12         Desc Main
                              Document     Page 9 of 21



admission to exclusive Beck events onboard the Cruise. The “Inner Circle” package cost

each guest an additional $4,999. Exhibit A.

        17.    Inner Circle purchasers were also given the opportunity to attend an Inner

Circle dinner with Glenn Beck, including a black-tie event where each guest would have

their picture taken with Beck.

        18.    Beck advertised his Cruise on his network known as Blaze or Blaze Media,

and on corresponding podcasts and YouTube videos. The first video Glenn Beck made

and posted on the CruiseBuilder YouTube account, warned potential ticket purchasers:

        “Right now, our foundations of our faith, our freedom, our human progress
        are all under attack. I want to give you the opportunity to share your values,
        your beliefs, and the things you hold dear with the ones you love. Yes, you
        could go to Disney and spend a buttload of money and stand in line the
        entire time with screaming kids, or you could have our first ever Cruise
        Through History. You’re invited.”

        19.    Beck told potential purchasers they would “walk where Jesus walked,” and

would be “guided every step of the way by himself and others.“2

        20.    CruiseBuilder created the “Cruise Through History Podcast” which

featured Glenn Beck. Episodes of the podcast focused on topics such as “faith and

freedom,” along with episodes devoted to the religious and political history of each port

at which the ship would stop and allow passengers to listen to Glenn Beck’s history

lessons on that particular area.

        21.    CruiseBuilder also created “Vacation Radio” which was a station devoted

to advertising the various travel offerings, including the Cruise. In one episode,



2
 As of October 13, 2023, Glenn Beck’s first promotional video can still be found at:
https://www.youtube.com/watch?v=sGr0lg6vbCo.


                                              5
    Case 23-23695   Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12        Desc Main
                             Document      Page 10 of 21



CruiseBuilder executive Brian Mickelson stated that CruiseBuilder “rented out the entire

ship for Glenn Beck.” Mickelson said “it’s not the cruise ship’s cruise anymore, it’s Glenn

Beck’s cruise now. Glenn is setting all the themes, and all the ideas, and everything that’s

going to happen on the ship are all generated by Glenn and our group, so it’s very specific

and tailored to what our guests want to experience on the trip.”3

        22.   Mr. Mickelson is a former charter airline executive, and on or around 2015,

the Department of Transportation ordered Mr. Mickelson to stay out of the charter airline

business due to his failure to refund passengers when he cancelled their flights. Exhibit

B.

        23.   Glenn Beck was the primary advertiser for the Cruise, was the decision-

maker when it came to passengers’ experience on the cruise and the deciding factor in

Plaintiff and Class Members’ decisions to purchase tickets on the Cruise. Beck advertised

the Cruise on his network, also known as “The Blaze,” and through that platform enticed

Plaintiff and Class members to purchase tickets on his Cruise. Beck also used his channel

to advertise his “Inner Circle” package for an additional $4,999.

        24.   In early February of 2020, COVID-19 began making its way through Europe

and the Middle East, causing travel to be restricted. Wes Cobos, President of

CruiseBuilder, informed passengers that CruiseBuilder had a “team in Italy doing a full

evaluation of the situation, including gathering first-hand reports on where the safe zones




3
 Vacation Radio, “Cruising Italy, Croatia, Greece, Israel…with Glenn Beck!” August 7,
2020.


                                             6
 Case 23-23695      Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12       Desc Main
                             Document      Page 11 of 21



are, what safety precautions are being implemented and how those precautions are

actually being carried out.” Exhibit C.

       25.    On February 23, 2020, CruiseBuilder notified all ticket purchasers that the

trip was postponed and would have to be rescheduled due to the pandemic. Exhibit D.

       26.    At this point, Defendants wrongfully altered the terms and conditions of

the Cruise issued to Plaintiff and the Class to ensure no refunds would be issued. The

original terms and conditions stated: “If a vacation is canceled prior to departure,

CruiseBuilder’s only responsibility will be to refund the amount received for the

reservation.” Exhibit E.

       27.    The new altered version of the terms and conditions unilaterally and

wrongfully favored Defendants, stating: “If a vacation is cancelled by CruiseBuilder prior

to departure, CruiseBuilder’s only responsibility will be to refund any unused funds from

the reservation payments and any amounts refunded back from other travel vendors.”

Exhibit F.

       28.    Defendants were careful to use the word “postponed” instead of

“cancelled” during this period. Defendants were aware that all travel insurance policies

sold through Travel Guard, a subsidiary of AIG, would only pay out if the Cruise was

officially cancelled and not merely postponed.

       29.    Class members soon began requesting refunds from Defendants.

Emboldened by the new protections Defendants wrongfully afforded themselves in their

altered terms and conditions, Defendants stated: “At the time the trip was originally set

to go we had already paid all the vendors including the cruise line, hotels, transfers, bus




                                            7
 Case 23-23695      Doc 38     Filed 11/07/23 Entered 11/07/23 13:38:12      Desc Main
                              Document      Page 12 of 21



companies, tour companies, etc. We did not get refunded from most of those vendors.

They did move it to different dates. When the last one was unable to go, they offered

credits and not a refund. We are only able to provide the refund options that were sent

out previously.” Exhibit G.

      30.    The refund options offered by CruiseBuilder were credits toward a

different cruise; one that would not include flights, hotels, Glenn Beck, or even the same

ports as the original Glenn Beck Cruise Through History.

      31.    CruiseBuilder’s contention that vendors did not issue it refunds was a

misrepresentation. Several vendors, including Lufthansa Airlines, did issue refunds to

CruiseBuilder. Exhibit H.

      32.    CruiseBuilder also received $435,500 in Paycheck Protection Program loans,

which were ultimately forgiven. Exhibit I.

      33.    By February 23, 2023, exactly two years after the initial postponement,

CruiseBuilder then cancelled the replacement trips offered in place of a refund, stating:

“CruiseBuilder has faced significant financial pressure due to inflation and related costs

for travel services. These inflationary market conditions, which are in addition to

lingering impacts of COVID-related restrictions, have made it impossible for

CruiseBuilder to go forward with your scheduled cruise. Unfortunately, given these

circumstances, CruiseBuilder has no choice but to cancel your trip.” Exhibit J.

      34.    This cancellation, two years after the initial postponement, ensured that no

purchasers of Travel Guard insurance would receive the benefit of the insurance they

purchased. This cancellation was also the end of any hope ticket purchasers had of




                                             8
 Case 23-23695      Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12       Desc Main
                             Document      Page 13 of 21



obtaining a replacement cruise, or any value for the extraordinary amounts they paid to

Defendants.

      35.     Beck issued a statement to Buzzfeed News, saying: “My position is that

anyone who wants a refund in these uncertain times should receive one, and I’ve strongly

encouraged the cruise line, airlines, and the hotels to accommodate. I look forward to

going on the Cruise Through History when the circumstances surrounding this global

pandemic allow us to do so.” Exhibit K.

      36.     Despite the public statement, Glenn Beck absolved himself of any

responsibility to his fans, who bought tickets for his Cruise based on his advertisements.

Glenn Beck sold every single one of his Inner Circle tickets for $4,999 a piece. Exhibit L.

The Inner Circle tickets alone provided Beck with $679,864 which he never returned.

      37.     On August 25, 2023, Project Neptune LLC filed a Voluntary Petition for

Chapter 11 bankruptcy.

      38.     To date, Glenn Beck and the other Defendants have retained all funds paid

to them for the Cruise.

                                CLASS ALLEGATIONS


      39.     Plaintiff and the Class incorporate the above paragraphs herein.

      40.     Plaintiff brings this action pursuant to Arkansas Rule of Civil Procedure

(“ARCP”) 23, on behalf of himself and the following “Class:”




                                            9
 Case 23-23695         Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12      Desc Main
                                Document      Page 14 of 21




     All persons who purchased tickets for the Glenn Beck Cruise Through History
     scheduled for March 24, 2020 to April 7, 2020. Including those who purchased “Insider
     Package” tickets, “VIP Package” tickets, and “Inner Circle Package” tickets.

     Excluded from the Class are the following:

              a) Any class member that received a full refund for their reservation

              b) Any of the named Defendants, their directors, officers, employees, and/or
                 agents

              c) The judge presiding over this action and his/her immediate family members;
                 and,

              d) Any person that timely and properly excludes himself/herself/itself
                 pursuant to the orders of the court.




A.     Typicality

        41.      Plaintiff’s claims are typical of the claims of the Class because Plaintiff

purchased tickets and packages for the Cruise, and the claims all arise from the same

wrongdoing committed by Defendants.

B.     Commonality

        42.      There are questions of law and/or fact common to the Plaintiff and the

Class, which predominate over questions that may affect individual Class members. The

common and predominate question is whether Defendants were unjustly enriched by

promoting and selling the tickets for the Cruise, accepting Class members money for the

Cruise, then cancelling the Cruise and keeping their ill-gotten proceeds.




                                              10
 Case 23-23695       Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12      Desc Main
                              Document      Page 15 of 21



C.    Numerosity

       43.    The Arkansas Supreme Court has certified a class with as few as 77 people,

and separately noted a class with as few as 40 members may be proper due to the inherent

difficulty in joining this number of individual actions.

       44.    Tickets and packages were sold to individuals in all states where

Defendants advertised the Cruise. Upon information and belief, approximately 2,000

tickets were sold for the Cruise.

       45.    Thus, the members of the Class are so numerous that joinder of all members

is impracticable.

D.    Superiority

       46.    A class action is superior to other methods for the fair and efficient

adjudication of this controversy because the prosecution of separate actions by individual

members of the Class creates a risk of inconsistent and varying results. Further, this

would also establish incompatible standards of conduct for Defendants.

       47.    Additionally, questions of law and fact common to the members of the

Class predominate over questions affecting only individual members. Adjudication as a

class in this case eliminates the possibility of duplicative litigation.

E.    Adequacy

       48.    Plaintiff will fairly and adequately represent the interests of the Class

because Plaintiff’s interests do not conflict with the interests of the other Class members

he seeks to represent. Plaintiff has also retained competent counsel who is experienced in




                                              11
  Case 23-23695       Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12       Desc Main
                               Document      Page 16 of 21



class action litigation. Plaintiff’s counsel will fairly and adequately protect the interests

of the class.



                                         COUNT I

                                          FRAUD

       49.      Plaintiff and the Class incorporate the above paragraphs herein.

       50.      Defendants misrepresented to Plaintiff and the Class that they wanted

 refunds to be issued in compliance with the original terms and conditions created and

 issued by CruiseBuilder. Beck further stated that refunds should be given to any ticket

 purchaser who wanted one.

       51.      Defendants publicly represented to Plaintiff and the Class that they were

 advocates for Plaintiff and the Class and were working to ensure that refunds would

 be issued.

       52.      These were material misrepresentations of fact.

       53.      Defendants had knowledge that their representations were false or that

 there was insufficient evidence upon which to make the representations.

       54.      While Defendants made these public material misrepresentations, they

 privately sought to insulate themselves from the financial loss that would come from

 issuing refunds.

       55.      Plaintiff and the Class justifiably relied on Defendants misrepresentations

 and were discouraged from taking further action due to Glenn Beck’s statements that

 he was working to make sure his fans received refunds.




                                             12
 Case 23-23695      Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12      Desc Main
                             Document      Page 17 of 21



       56.    Vendors paid by CruiseBuilder and Beck did refund monies to Defendants.

 However, these monies were not refunded to Plaintiff and the Class.

       57.    Upon information and belief, Glenn Beck retained funds paid by Inner

 Circle purchasers, despite his public charade calling for refunds to passengers who

 requested them.



                                         COUNT II

                                  IN THE ALTERNATIVE

                                 CONSTRUCTIVE FRAUD

       58.    Plaintiff and the Class incorporate the above paragraphs herein.

       59.    Defendants materially misrepresented to Plaintiff and the Class that,

among other things, Defendants intended for refunds to be issued.

       60.    Defendants asserted these representations to be true without knowledge of

their falsity and without moral guilt or evil intent.

       61.    Because of Defendants’ material misrepresentations, Plaintiff and the Class

believed that a refund would be issued.

       62.    Plaintiff and the Class are entitled to recover damages caused by acts

committed, or the forbearance of action, pursuant to the material misrepresentations

made by Defendants.




                                             13
 Case 23-23695       Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12      Desc Main
                              Document      Page 18 of 21



                                         COUNT III

                                        NEGLIGENCE

      63.      Plaintiff and the Class incorporate the above paragraphs herein.

      64.      Defendants had a duty to inform Plaintiff and the Class of the situation

 regarding the status of the Cruise and any subsequent refunds.

      65.      Defendants failed to relay accurate information to Plaintiff and the Class

 that they would not receive refunds and should pursue all other available means of

 resolution.

      66.      As a proximate cause of these fraudulent representations, Plaintiff and the

 Class continued to attempt to schedule replacement cruises that were also cancelled.

      67.      Further, Defendant Glenn Beck failed to issue refunds to his fans who spent

 an additional $4,999 for his Inner Circle package, despite his public statement that

 refunds should be issued.

      68.      Plaintiff and the Class have sustained damages as a proximate cause of the

 acts of Defendants and should be awarded damages over and against Defendants,

 including attorney’s fees and costs.



                                         COUNT IV

                                 UNJUST ENRICHMENT

      69.      Plaintiff and the Class incorporate the above paragraphs herein.

      70.      Defendants were paid by Plaintiff and the Class upon the promise that the

Glenn Beck Cruise Through History would occur as advertised.




                                            14
 Case 23-23695       Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12       Desc Main
                              Document      Page 19 of 21



         71.   The Cruise did not occur as advertised, and further, cruises offered as a

replacement were subsequently cancelled as well.

         72.   Defendants have received payments from Plaintiff and the Class to which

they are not entitled.

         73.   It would be unjust for Defendants to retain monies paid by Plaintiff and the

Class.

         74.   Plaintiff and the Class respectfully ask this Court to order Defendants to

disgorge all payments received from Plaintiff and the Class.



                                        COUNT V

                                CONSTRUCTIVE TRUST

         75.   Plaintiff and the Class incorporate the above paragraphs herein.

         76.   A constructive trust may be imposed when a person holds the property of

another and would be unjustly enriched if allowed to retain that property.

         77.   “The duty to convey the property may arise because it was acquired

through fraud, duress, undue influence or mistake, breach of fiduciary duty, or wrongful

disposition of another’s property.” Cox v. Miller, 363 Ark. 54, 210 S.W.3d 842, 849 (2005).

Regardless of whether any specific fact is unintentionally misrepresented, Defendants are

subject to an equitable duty to return Plaintiff’s money and are unjustly enriched if

permitted to retain that money.




                                            15
 Case 23-23695       Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12        Desc Main
                              Document      Page 20 of 21



         78.   Defendants are wrongfully in possession of monies paid by Plaintiff and

the Class. Defendants have an equitable duty to return this money to Plaintiff and the

Class.

         79.   Defendants would be unjustly enriched if they were permitted to continue

to possess monies paid by Plaintiff and the Class.

         80.   Equity demands a constructive trust containing all monies paid to

Defendants by Plaintiff and the Class.



                                  PRAYER FOR RELIEF




         WHEREFORE, Plaintiff and the Class pray that the Court enters judgment in their

favor on all the claims asserted herein, to Order all the requested relief pled above, and

to provide Plaintiff and the Class all other just and appropriate relief including attorney’s

fees and costs.



Dated: October 27, 2023                   Respectfully submitted,

                                          POYNTER LAW GROUP, PLLC




                                           _______________________________
                                           Scott Poynter, AR Bar. 09077
                                           scott@poynterlawgroup.com
                                           Daniel Holland, AR Bar. 2019237
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                                             16
Case 23-23695   Doc 38    Filed 11/07/23 Entered 11/07/23 13:38:12    Desc Main
                         Document      Page 21 of 21



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                                      17
